   Case 17-31052             Doc 33        Filed 01/31/18 Entered 01/31/18 06:20:14               Desc ADI Notice
                                              to Creditor to File Page 1 of 1
                                          UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MASSACHUSETTS


In Re:      Richard M. Shove and Kathleen E. Shove,                     Chapter: 7
            Debtor                                                      Case No: 17−31052
                                                                        Judge Elizabeth D. Katz



                                      NOTICE TO CREDITORS TO FILE CLAIMS




It now appears that there may be sufficient funds to pay a dividend to unsecured creditors. The size of the dividend
will depend on the claims that are filed and allowed. To participate in any distribution you must file a claim with
the OFFICE OF THE CLERK, in one of the following locations.

         United States Bankruptcy Court
         John W. McCormack Post                   United States Bankruptcy Court          United States Bankruptcy Court
         Office and Court House                   211 Donohue Federal Building            United States Courthouse
         5 Post Office Square, Suite              595 Main Street                         300 State Street, Suite 220
         1150                                     Worcester, MA 01608−2076                Springfield, MA 01105−2925
         Boston, MA 02109−3945


A proof of claim form ("Official Form 410") can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office.

NO DIVIDEND CHECK LESS THAN $5.00 WILL BE ISSUED.

The last day of filing a claim is 5/1/18

For further information, please contact the Trustee:

Jack E. Houghton
78 Bartlett Avenue
Pittsfield, MA 01201
413−447−7385


Date:1/31/18                                                            Mary P. Sharon
                                                                        Clerk, U.S. Bankruptcy Court
